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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

   ______________________________________________
   DEMOCRACY PARTNERS, LLC, et al.,             )
                                                )
            Plaintiffs,                         )
                                                ) Civ. No. 1:17-cv-1047-PLF
            v.                                  )
                                                )
   PROJECT VERITAS ACTION FUND, LLC, et al.,    )
                                                )
            Defendants.                         )
   _____________________________________________)

          PLAINTIFFS’ REPLY MEMORANDUM IN SUPPORT OF
    PLAINTIFFS’ MOTION IN LIMINE TO PRECLUDE DEFENDANTS FROM
  MAKING ANY ARGUMENT OR INTRODUCING EVIDENCE FOR PURPOSES OF
                 ASSERTING A JOURNALISM DEFENSE

       Plaintiffs Democracy Partners, LLC, Strategic Consulting Group NA Inc. and Robert

Creamer herein reply to the Opposition filed by Defendants [Dkt. No. 133] (“Def. Oppo.”) to

Plaintiffs’ Motion in Limine to Preclude Defendants from Making Any Argument or Introducing

Evidence for Purposes of Asserting a Journalism Defense [Dkt. No.117].

       This Court has already ruled that the “Court is not persuaded that defendants’ supposed

journalistic status is a ‘fact[] of consequence in determining th[is]s action,” and that Plaintiffs

cannot introduce evidence “in their case in chief for the purpose of establishing that defendants are

not journalists or that Project Veritas is not a newsgathering organization.” Opinion and Order,

Oct. 14, 2021 [Dkt. No. 114] (“Oct. 14 Opinion”) (quoting Fed. R. Evid. 401(b)) (brackets and

emphasis in original). If Plaintiffs cannot introduce evidence for that purpose because such

evidence would not be relevant, then surely Defendants should also be precluded from introducing

such evidence for the same purpose. That fundamentally logical implication of the Court’s ruling

is not altered, as Defendants would have it, by some free-floating need to establish the Defendants’
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identity; by references in different lawsuits involving different causes of action; or by Defendants’

attempt to rewrite the meaning of “tortious purpose” in the federal and District of Columbia

wiretapping laws. In short, Defendants have failed to show why they should not be subject to the

same limitation as Plaintiffs in introducing evidence as to Defendants’ journalistic status or

purpose. Plaintiffs’ motion in limine should therefore be granted.

        I.      Defendants Have Misinterpreted the Court’s October 14 Opinion

        Defendants filed a Motion in Limine to exclude, among other things, certain evidence that

the infiltration and recording were carried out to benefit the Trump campaign. Defendants’ Motion

in Limine to Exclude Plaintiffs’ Politically-Motivated Efforts [Dkt. No. 100]. In their Opposition,

Plaintiffs argued that if Defendants were permitted to assert their journalistic status or purpose as

evidence of a non-tortious purpose, “Plaintiffs should be allowed to introduce evidence to show

that Project Veritas was not a media outlet trying to report the ‘news,’ but rather was a partisan

operation strongly committed to assisting then-candidate Trump…” Plaintiffs’ Opposition to

Defendants’ Motion in Limine No. 2 [Dkt. No. 103] at 9.

        In ruling on that Motion in Limine, the Court ruled that it “is not persuaded that defendants’

supposed journalistic status is a ‘fact[] of consequence in determining thi[is] action.’ FED. R. EVID.

401(b). The parties discuss this in relation to plaintiff’s claims under the wiretap statutes, yet these

statutes do not include any special provision for recordings made by journalists.” Oct. 14 Opinion

at 11. “The Court concludes that plaintiffs have failed to establish that defendants’ journalistic

status is a ‘fact[] of consequence’ in this action, FED. R. EVID. 401, and therefore, they have failed

to establish that evidence connecting defendants to Mr. Trump is relevant on this basis. Plaintiffs

cannot rely on such evidence in their case in chief for the purpose of establishing that defendants




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are not journalists or that Project Veritas is not a newsgathering organization.” Oct. 14 Opinion at

12 (emphasis in original).

       If Defendants’ journalistic status is not a “fact [that] is of consequence in determining the

action,” Fed. R. Evid. 401, and is thus irrelevant, and if for that reason Plaintiffs cannot introduce

evidence to establish that Defendants are not journalists, then logically Defendants must also be

precluded from introducing such evidence to establish that Defendants are journalists, or were

acting as such. The Court did discuss the possibility that Defendants may “open the door” to

introduction of such evidence if Defendants “at trial make arguments, offer evidence, or elicit

testimony concerning their status as ‘investigative journalists’…” Oct. 14 Opinion at 13. The

Court noted that “defendants have made clear that they will frame their actions in this case as

newsgathering by investigative journalists. The other side of the coin is that plaintiffs may seek

to frame defendants’ actions in other terms.” Id. at 17. Defendants point to this language as

indicating that, even though Plaintiffs will be precluded from introducing evidence about

Defendants’ journalistic status, Defendants will be allowed to do so. Def. Oppo. at 1-2.

       Plaintiffs’ understanding, however, is that the Court was assuming that this “opening of

the door” would occur only if Plaintiffs did not file a motion in limine to preclude Defendants from

introducing such evidence in the first place. “Plaintiffs themselves suggest that defendants’ status

as journalists may not be relevant to any claim or defense in this case, … and may move in limine

to block defendants from making certain arguments on this basis, …” Oct. 14 Opinion at 11. The

Court noted that the deadline for filing such a motion had not yet occurred. Id. n. 3. After the

Court’s October 14 Opinion was issued, Plaintiffs did file a Motion in Limine to Preclude

Defendants from Making Any Argument or Introducing Evidence for Purposes of Asserting a

Journalism Defense. [Dkt. No. 117]. Given the logical implication of the Court’s October 14



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Opinion, Defendants should now be precluded from introducing evidence for the purpose of

establishing that they are or were acting as journalists. If they are so precluded, there will be no

occasion to find that Defendants have “opened the door” to allow Plaintiffs to introduce such

evidence.

       II.     Project Veritas’ Supposed Journalism Is Irrelevant in This Case

       Defendants insist that “the Project Veritas Parties’ journalism will be a contested issue at

trial,” and cite other cases in which the organization’s journalistic status was supposedly

acknowledged. Def. Oppo. at 3-4. But whether Project Veritas acts or have ever acted as a

journalistic organization will not be a contested issue at trial in this case, in view of the Court’s

ruling that “defendants’ supposed journalistic status is” not a “’fact…of consequence in

determining th[is] action.’” Oct. 14 Opinion at 11 (quoting Fed. R. Evid. 401). Nor was the

journalistic status or purpose of Project Veritas a “fact . . . of consequence” in determining the

action in any of the other cases cited by Defendants.

       In Teter v. Project Veritas Action Fund, No. 17-cv-00256-MR, 2019 WL 2423294

(W.D.N.C., June 7, 2019), plaintiff sued Project Veritas for defamation, alleging that videos posted

by Project Veritas portrayed her in certain ways that were defamatory. The Court directed a verdict

for Project Veritas because the content of the videos could not be reasonably be understood to

mean what plaintiff claimed they implied, and because plaintiff (previously found to be a limited

purpose public figure) had failed to introduce clear and convincing evidence of actual malice. The

journalistic status or purpose of Project Veritas was not a factor considered in any way by the

Court in reaching that decision.

       Similarly, in Project Veritas’ pending suit against the New York Times for defamation,

Project Veritas is the defamation plaintiff against the Times. The trial court denied the Times’



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motion to dismiss for failure to state a cause of action. The Court found that Project Veritas had

adequately pleaded the elements of a defamation claim, and that its pleading was adequate to

survive New York’s recently amended anti-SLAPP law. Again, the journalistic status or purpose

of Project Veritas – the plaintiff in that case – was not a factor considered in any way by the Court

in reaching its decision to deny a motion to dismiss for failure to state a claim. Project Veritas v.

The New York Times Co., No. 63921/2020, 2021 WL 2395280 (Sup. Ct. Westchester, March 18,

2021).

         Again, in Wentz v. Project Veritas, No. 17-cv-1164-ORL, 2019 WL 1716024 (M.D. Fla.,

April 16, 2019), the same Project Veritas operative who is a defendant in this case, Allison Maass,

secretly recorded plaintiff, the head of a teachers’ union, at a bar in Orlando during a conference;

and then another operative also involved in this case, Daniel Sandini, secretly recorded plaintiff at

a Panera restaurant. Plaintiff sued for defamation and violation of the federal and Florida

wiretapping statutes. The Court granted summary judgment for defendants on the defamation

claim based on the lack of false content in the videos posted by Project Veritas. Significantly, the

Court granted summary judgment on the federal wiretapping claim because there was no allegation

that the recording had been done for any tortious purpose. 2019 WL 1716024 at *5. And summary

judgment was granted on the Florida wiretapping claim because there was no expectation of

privacy at the bar or restaurant.

         The issue of Project Veritas’ journalistic status was not considered or mentioned by the

Court anywhere in its decision. In particular, in the Wentz case, the issue of whether journalistic

status was relevant to tortious purpose was never raised because Wentz (the plaintiff) never alleged

any tortious purpose. There was no issue of breach of fiduciary duty in the Wentz case because

the recordings were made only in public venues; there was no infiltration of an organization as in



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the case at bar. Again, it must be emphasized that such recordings in public venues were also

made by Project Veritas operatives in this case but are not being and have never been challenged

by Plaintiffs as being unlawful, in this or any other proceeding.

       Project Veritas’ supposed journalism was not actually an “essential fact,” as Defendants

would have it, Def. Oppo. at 5, in this case or in any of the cases cited by Defendants. Defendants

have failed to explain why evidence of such supposed journalistic status or purpose is relevant.

       III.    Defendants’ Supposed Journalistic Status and Purpose Are Not Essential
               Background Information

       Defendants contend that their supposed journalistic status or purpose is admissible

regardless of its relevance to elements of the causes of action actually being litigated in this case.

First, Defendants suggest that it is important for jury to know that their practices are “in the long-

established journalistic tradition… in the field of investigative journalism…” Def. Oppo at 5. But

if Defendants’ journalistic status or purpose is not a “fact of consequence in determining the

action,” as the Court ruled, there would no reason for Defendants to be allowed to introduce

evidence about whether their practices do or do not fit into any “tradition” of investigative

journalism.

       Second, Defendants assert that evidence of their “journalism and newsgathering are

relevant regardless of the exact elements of Plaintiffs’ causes of action” because they “are

inextricable background facts that permeate every aspect of the events that gave rise to this suit,

…” Id. at 6. There is, however, no reason why the events that took place – “what happened” –

cannot simply be recounted without Defendants falsely characterizing their actions as “journalism”

in argument, in questioning witnesses or in the testimony of their own witnesses; without

Defendants referring to themselves in questioning and testimony as “journalists;” and without

Defendants arguing (in opening or closing argument) that their “journalistic” purpose is a defense

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to any of the claims. That is the relief sought in Plaintiffs’ motion in limine, and it is logically

warranted by the Court’s ruling that Defendants’ journalistic status is not a “fact . . . of consequence

in determining” this action.

        IV.     Evidence of Defendants Supposed Journalistic Status Is Not Relevant to
                Respond to the Characterization of Defendants’ Activities as “Political
                Spying”

        In their Motion in Limine to Exclude Plaintiffs’ Politically Motivated Efforts to Introduce

Irrelevant Evidence [Dkt. No. 100], Defendants asked the Court to preclude Plaintiffs from

referring to Project Veritas or to the infiltration at issue in this case, as a “political spying

operation.” Id. at 11. In ruling on that portion of Defendants’ Motion, the Court held that there

is a “sufficient good faith evidentiary basis for plaintiffs to characterize defendants’ conduct in the

events that gave rise to this case as a ‘political spying operation’ . . .” Oct. 14 Opinion at 16.

        At that point, before Plaintiffs filed their Motion in Limine regarding evidence of

journalistic status, the Court also anticipated that Defendants would “frame their actions in this

case as newsgathering by investigative journalists,” and that the “political spying operation”

characterization would not be “unfairly prejudicial” as a response. Id. at 17. Plaintiffs do not

understand the Court’s ruling to mean that if evidence of journalistic status and purpose is not

relevant, that Defendants could introduce it anyway to respond to the characterization of the

infiltration as a “political spying operation.” Rather, Plaintiffs understand the ruling to mean that

they are permitted to characterize the specific operation giving rise to this case as a “political

spying operation,” regardless of whether Defendants have any permissible basis for introducing

evidence of their journalistic status or purpose. They do not.




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       V.      Evidence of Defendants’ Supposed Journalistic Purpose Is Not Relevant to the
               Existence of a Tortious Purpose for the Secret Recording

       In the vast majority of meetings and conversations secretly recorded by Ms. Maass, Ms.

Maass was a participant. Therefore, Plaintiffs must prove that the recordings were made for a

“tortious purpose” in order to establish their claims under the federal and District of Columbia

wiretapping statutes. To prove a tortious purpose, Plaintiffs must show “’either (1) that the primary

motivation, or (2) that a determinative factor in the actor’s motivation for intercepting the

conversation was to commit a…tortious, or other injurious act.’” United States v. Dale, 991 F.2d

819, 841 (D.C. Cir. 1993) (quoting United States v. Vest, 639 F. Supp. 899, 904 (D. Mass. 1986),

aff’d 813 F.2d 477 (1st Cir. 1987)).

       Defendants contend that evidence of their journalistic status would be relevant to show that

their supposed investigative reporting was “the determinative purpose” for the recording. Def.

Oppo. at 8-9 (emphasis added). Specifically, Defendants argue that they “are entitled to defend

themselves . . . by showing that news gathering was not just a purpose in recording but their only

purpose in recording…” Id. at 10 (emphasis in original).

       That argument is based on a fundamental misconception of the law. Plaintiffs succeed on

their wiretapping claim if they show that breach of a fiduciary duty was “a determinative factor”

in Ms. Maass’ motivation for recording. Ms. Maass’ ultimate purpose may have been to engage

in what Defendants believed was “investigative reporting.” But, if to accomplish that purpose, she

also had to have the purpose of breaching a fiduciary duty, and without that breach of fiduciary

duty she could not undertake her “reporting,” then that breach of fiduciary duty was also “a

determinative factor” in her motivation to record. And that would be sufficient to establish a

violation of the wiretapping statutes. The existence or non-existence of the journalistic purpose

would be irrelevant.

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        As this Court explained in its October 14 Opinion, it makes no difference that Ms. Maass

may also have had a “valid, non-tortious purpose,” i.e., newsgathering. Oct. 14 Opinion at 7. “The

presence of a valid, non-tortious purpose does not immunize a defendant from liability under the

wiretap statues if that defendant also has a tortious purpose that is ‘the primary motivation’ or ‘a

determinative factor’ in intercepting the communications.” Id. As the Court explained in Sussman

v. American Broadcasting Cos.. 186 F.3d 1200 (9th Cir. 1999):

        [T]he existence of a lawful purpose does not mean that the interception is not also for a
        tortious or unlawful purpose. For example, assume that a news gathering organization
        secretly videotapes bedroom activities. Even though there may be a legitimate news
        gathering purpose….public airing of such a tape may be illegal or tortious under state law.
        Under these circumstances, the taping could be for both a legitimate purpose (news
        gathering) and also an unlawful or tortious purpose (airing private intimate conduct). The
        existence of the lawful purpose would not sanitize a tape that was also made for an
        illegitimate purpose; the taping would violate section 2511 [the federal wiretapping
        statute].

Sussman, 186 F.3d at 1202 (emphasis added). Here, too, the existence of a “newsgathering”

purpose would not sanitize Ms. Maass’ recordings that were in the first instance made for the

purpose of breaching her fiduciary duty to Democracy Partners. The recordings would still have

been made in violation of the wiretapping statutes. Ms. Maass’ journalistic purpose would be

irrelevant.

        VI.    Evidence of Defendants’ Journalistic Status or Purpose Is Irrelevant to the
               Civil Conspiracy Count


        Defendants assert that evidence of their journalistic status or purpose would be relevant to

show that the “object” of any agreement they had was a lawful purpose, so that they would not be

liable for civil conspiracy. Def. Oppo. at 12. That is not how the law of civil conspiracy works.

        Civil conspiracy is “’”not independently actionable; rather it is a means for establishing

vicarious liability for the underlying tort.”’” Mpoy v. Fenty, 870 F. Supp. 2d 173, 183 (D.D.C.



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2012)(quoting Exec. Sandwich Shoppe, Inc. v. Carr Realty Corp., 749 A.2d 724, 738 (D.C.

2000)(internal quotations omitted)). Here, the underlying torts are fraudulent misrepresentation

and violations of the wiretapping statutes. If there was an agreement among Ms. Maass and the

other Defendants to participate in these torts, and Ms. Maass committed these torts, then the other

Defendants would be liable by reason of their participation in the civil conspiracy. That the

Defendants had other agreements – to commit these torts in the supposed interests of journalism

or newsgathering – would be utterly irrelevant to that analysis.


                                             CONCLUSION

       For the reasons set forth above, and in Plaintiffs’ Memorandum in Support of their Motion

in Limine to Preclude Defendants from Making Any Argument or Introducing Any Evidence for

Purposes of Asserting a Journalism Defense [Dkt. No. 117], Plaintiffs’ Motion in Limine should

be granted.




                                             Respectfully submitted,

Dated: November 15, 2021                     _/s/ Joseph E. Sandler
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                                       CERTIFICATE OF SERVICE

          I hereby certify that on November 15, 2021, I electronically filed the foregoing Plaintiffs’

Reply Memorandum to Plaintiffs’ Motion in Limine to Preclude Defendants from Making Any

Argument or Introducing Any Evidence for Purposes of Asserting a Journalism Defense with the

Clerk of Court using the CM/ECF system, which will cause a copy to be served on all counsel of

record.




                                 /s/ Joseph E. Sandler

                                 Attorney for Plaintiffs




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